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                     Exhibit X
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   REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL



                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION

CELLULAR COMMUNICATIONS              §
EQUIPMENT LLC,                       §
                                     §
Plaintiff,                           §     Case No. 2:20-CV-00078-JRG
                                     §
    v.                               §     JURY TRIAL DEMANDED
                                     §
HMD GLOBAL OY,                       §
                                     §
Defendant.                           §


                 OPPOSITION OF HMD GLOBAL TO CCE’S
              MOTION TO ENFORCE THE PROTECTIVE ORDER
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